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                           UNITED STATES DISTRICT COURT
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16                        CENTRAL DISTRICT OF CALIFORNIA
17     MATT SALNICK,                                Case No. 2:17-CV-00359-CBM-JC
18                                                  JOINT STATUS REPORT OF
                          Plaintiff,                PARTIES PURSUANT TO COURT’S
19                                                  JUNE 27, 2018 ORDER GRANTING
               vs.                                  JOINT STIPULATION FOR ORDER
20                                                  TO STAY
21     AMERON POLE PRODUCTS, LLC,                   Complaint Filed: January 17, 2017
22                        Defendant.
23

24          Plaintiff Matt Salnick (Plaintiff” or “Salnick”) and Defendant Ameron Pole
25    Products, LLC (“Defendant” or “Ameron”), submit this Joint Status Report pursuant
26    to the Court’s Order Granting Joint Stipulation For Order to Stay (the “Stay Order”)
27    [Dkt. 37].
28          On June 14, 2018, the Court entered an Order staying this litigation pending

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 1    the resolution of Motions to Enter the [Proposed] Consent Decree in the following
 2    actions:
 3                   Gary Lunsford v. Arrowhead Brass Plumbing, et al., Case No. 2:16-
 4                     cv-08373-PA-KS;
 5                   Luke Delgadillo Garcia v. Miller Castings, Inc., Case No. 2:17-cv-
 6                     07408-AB-AGR;
 7                   Alfonso Lares v. Reliable Wholesale Lumber, Inc., Case No. 8:18-
 8                     cv-00157-JLS-AGR;
 9            The Stay Order required the parties to submit this status report by August 13,
10    2018.
11            On July 30, 2018, in Luke Delgadillo Garcia v. Miller Castings, Inc., Case
12    No. 2:17-cv-07408-AB-AGR, the Court (Birotte, J.) ordered the Plaintiff to file the
13    Motion to Enter the Consent Decree by August 24, 2018.
14            On July 31, 2018, in Alfonso Lares v. Reliable Wholesale Lumber, Inc., Case
15    No. 8:18-cv-00157-JLS-AGR, the Court (Stanton, J.) ordered the Plaintiff to file the
16    Motion to Enter the [Proposed] Consent Decree by August 21, 2018.
17            On August 3, 2018, in Gary Lunsford v. Arrowhead Brass Plumbing, et al.,
18    Case No. 2:16-cv-08373-PA-KS, the Court (Anderson, J.) issued an Order granting
19    in full, Plaintiff’s Motion to Enter Consent Decree. The Court found that the
20    Consent Decree “is fair, reasonable, and equitable, and does not violate the law or
21    public policy.” [Dkt. 67, a copy of which is attached as Exhibit 1, hereto].
22            The parties will update the Court upon resolution of the Motions to Enter in
23    the remaining two matters referenced above or upon further Order of this Court.
24

25    Dated: August 13, 2018                  BRODSKY & SMITH, LLC
26                                            By: s/ Evan J. Smith (SBN 242352)
27
                                              Evan J. Smith

28                                            Attorneys for Plaintiff

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      Dated: August 13, 2018             FAEGRE BAKER DANIELS, LLP
 2

 3                                       By: s/Tarifa B. Laddon (SBN 240419)
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